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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TAELOR N. BARNES, Individually,
and TAELOR N. BARNES, as                     Case No.
Personal Representative of the               Hon.
Estate of William L. Taylor,
Deceased,

                      Plaintiff,

vs.

WAYNE COUNTY, ALICE SMITH,
DR. JOHN RESTUM, DR. JOHN LYLE,
LISA HINCHMAN, LISA WITOWSKI,
APRIL WILLIAMS, SHERRY MCCAA,
DR. DLUGOKINSKI, JOHN DOE,
Residential Classification Officer,
all employees of WAYNE COUNTY,
each in their individual and
official capacities, jointly and
severally,

               Defendants.
__________________________________/
ARNOLD E. REED & ASSOCIATES, P.C.
ARNOLD E. REED (P46959)
PAMELA L. RICE (P75243)
Attorneys for Plaintiff
32255 Northwestern Hwy., Ste. 251
Farmington Hills, MI 48334
(248) 855-6330
_________________________________/

      There is no file in this Court between these parties
      or other parties arising out of the same transaction
      or occurrences as alleged in this Complaint.

               COMPLAINT AND DEMAND FOR TRIAL BY JURY
      NOW COMES Plaintiff, by and through the Law Offices of

Arnold E. Reed & Associates, P.C., and for her complaint against
the above-named Defendants brought on behalf of the Deceased,
each in their individual and official capacities, jointly,
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severally or in the alternative, state and avers as follows:
                        PRELIMINARY STATEMENT


     1.    That this is a civil rights action brought pursuant to

42 U.S.C. § 1983, 1985 and 1988, and the Fourth and Fourteenth

Amendments to the United States Constitution, against the named

Defendants herein.    Plaintiff seeks compensatory and punitive

damages from the Defendants for violating her constitutional

rights to be free from any and all acts and/or omissions that

are deliberately indifferent.      In addition, Plaintiff brings

this action for Defendants deliberately, indifferently and

unjustifiably denying Plaintiff-Decedent access to medical care/

psychological treatment when it was obvious that Plaintiff was

intending to do great bodily to other inmates and/or harm

himself.   In addition, the instant cause of action is brought

inasmuch as the constitutional violations described herein were

committed by the individual Defendants herein, while acting

under color of law and were the result of policies, practices

and customs of the County of Wayne, and the balance of the

Defendants named herein who are employees of the Wayne County

Jail and/or Wayne County.

                            JURISDICTION AND VENUE

     2.    That the United States District Court has jurisdiction

pursuant of 28 U.S.C. § 1331 and 1343.       Proper venue lies in the



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Eastern District of Michigan pursuant to 28 U.S.C. § 1391.

     3.    That the unlawful actions complained of herein were

committed in the Southern Division of the Eastern District of

the State of Michigan.

     4.    That the County of Wayne along with the other named

Defendants, had a long history of condoning denial of medical

treatment to inmates in general but particularly the Plaintiff

which was facilitated and carried out by its employees in

general but specifically as more particularly set forth below.

                                   THE PARTIES

             TAELOR N. BARNES, APPOINTED PERSONAL REPRESENTATIVE,
                 MAY 14, 2012, RESIDENT OF HAMILTON, ALABAMA

     5.    That at all times relevant hereto, Plaintiff is a

United States Citizen and a resident of Detroit, specifically,

the Detroit Wayne County Jail.

     6.    That at all times relevant to this complaint,

Defendant, County of Wayne is a county organized as a municipal

corporation existing under the laws of the State of Michigan,

and at all relevant times hereto, each of the Defendants hereto

were acting in the capacity of agents and/or employees of said

Defendant.

     7.    That at all relevant times to this complaint, the

balance of the Defendants named herein were employees of

Defendant Wayne County and were acting within the scope of their

employment and under color of law.


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     8.    That each of the Defendants named herein are being

sued in their individual and official capacities, jointly and

severally.

     9.    That the liability of each of the Defendants is based

upon 42 U.S.C. § 1983, the Fourth, Eighth and Fourteenth

Amendments to the United States Constitution for which no

qualified immunity exist.

     10.   That all events, transactions and occurrences relevant

hereto transpired within the County of Wayne, City of Detroit,

State of Michigan.

     11.     That the amount in controversy exceeds Seventy-Five

Thousand ($75,000.00) Dollars, to wit: Ten Million Dollars, well

above the jurisdictional requirement.

                                  FACTS

     12.   That on December 9, 2011, Plaintiff-Decedent was

booked on a criminal charge with Assault With Intent to Murder,

and subsequently was committed to the Wayne County Jail.

     13.   That following a trial by jury, Plaintiff-Decedent was

convicted of the charged offense, Assault With Intent to Murder.

     14.   That Plaintiff-Decedent had a history of mental

illness including but not limited to depression, insomnia,

impulsivity, attention problems and alcohol abuse.

     15.   That while incarcerated, and under the care, custody

and control of the named Defendants herein, on April 6, 2012,



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Plaintiff-Decedent attempted suicide by hanging.

     16.   That after being discovered hanging, Plaintiff-

Decedent was rushed to Detroit Receiving Hospital and given

treatment.

     17.   That several hours after arriving at Detroit Receiving

Hospital, Plaintiff-Decedent was released with discharge

instructions specifically alerting each of the named Defendants

that Plaintiff-Decedent was suffering from suicidal ideation and

that the Defendants needed a plan that would safe guard the

Plaintiff-Decedent in case the Plaintiff attempted to act upon

these suicide ideations.

     18.   That in spite of the instructions from Detroit

Receiving Hospital, the Defendants failed to develop a mental

health plan including treatment that would insure Plaintiff

would not make further attempts to harm himself or others.

     19.   That Defendants knew that Plaintiff-Decedent was a

high risk for injurious and/or suicidal behavior but failed to

develop any type of mental health plan that would have

safeguarded the life and liberty of the Plaintiff.

     20.   That when Plaintiff-Decedent returned from Detroit

Receiving Hospital, the Plaintiff was on continuous observation

status as well as in the mental health unit of the Wayne County

Jail for only three (3) days, in which time, he received no

psychological medications, counseling or other medical



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intervention with regard to his care and treatment.

     21.   That on or about April 9, 2012, Plaintiff-Decedent was

removed from his continuing observation status and placed back

into general population by each of the Defendants who

acquiesced, and/or agreed with such measures, knowing that

Plaintiff-Decedent was a high risk suicide individual and

thereby capable of taking his own life.

     22.   That Defendants named herein agreed and acquiesced

into letting the Plaintiff-Decedent return to general population

and be removed from continuing observations status in spite of

the lack of medical care and treatment being provided to

Plaintiff-Decedent to allow him to cope and handle his suicidal

ideations.

     23.   That Plaintiff-Decedent did not want to return to

general population but was forced to pack his belongings, and

move into general population.

     24.   That the day Plaintiff-Decedent was moved to general

population and taken off continuing observation status, none of

the named Defendants counseled or provided medical attention or

therapeutic services to the Plaintiff-Decedent prior to his

removal out of the mental health unit and back into general

population.

     25.   That before, during and after his return to general

population and removal from continuous observation status, the



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Plaintiff-Decedent repeatedly wrote letters and communicated to

Defendants and others, his suicidal ideations and that he was

going to kill himself the first opportunity he got because he

was depressed about his conviction and had already spent the

better part of 20 years in prison for a previous offense and was

finally going home to join his father.

     26.   That on April 22, 2012, Plaintiff-Decedent while off

continuous observation status and in general population,

committed suicide by hanging at the Wayne County Jail.

                                 COUNT I

                   § 1983 – DEFENDANT WAYNE COUNTY

     27.   That Plaintiff reavers, realleges, and incorporates

herein each and every averment and allegation of this Complaint

as though fully set forth herein verbatim.

     28.   That the County of Wayne through the Defendants acting

as its agent and/or employees and within the scope of their

employment, have established a practice, policy or custom which

directly and proximately caused the injuries and harm suffered

by Plaintiff-Decedent as more fully stated throughout this

complaint by including but not limited to:

           A.   Deliberately failing to adequately provide,
                supervise or train the Defendants in the safe and
                proper methodologies of providing medical care or
                adequate care and treatment to inmates housed
                within the Wayne County Jail in general but in
                particular the Plaintiff; and




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           B.   Deliberately failing to train its employees
                including Defendants herein in recognizing when
                an inmate may be suffering from depression and
                other mental issues, including suicidal ideations
                in recognizing that without adequate medical care
                and treatment including therapeutic services,
                said inmate in the position of Plaintiff
                including Plaintiff-Decedent will attempt to take
                their lives or do other harm, injury and damage
                to themselves while under the care, custody and
                control of the Defendants.

           C.   That the County of Wayne knew or should have
                known that many arrestees or detainees and/or
                inmates in general but in particular, Plaintiff-
                Decedent suffered from the mental and emotional
                issues as described herein, and that he/they
                faced a substantial risk of serious harm to his
                health and safety if denied medical treatment,
                care and therapeutic services by inadequately
                trained employees such as the Defendants in
                question.

     29.   That the County of Wayne’s practice, policy, or

custom, of failing to provide adequate medical care/treatment to

its inmates in the position of Plaintiff as set forth more fully

above, was the moving force that did deprive Plaintiff-Decedent

and other victims of their rights, privileges, or immunities

secured under the Constitution and laws of the Untied States and

42 U.S.C. § 1983, including Plaintiff’s and other inmates right

to be free from deliberate indifference to their serious medical

needs, which were obvious to a lay person as guaranteed by

Fourth, Eighth and Fourteenth Amendments of the United States

Constitution.

     WHEREFORE, Plaintiff demands judgment against the County of

Wayne for compensatory and/or punitive damages in whatever


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amount the jury may determine, plus costs, interest, and actual

attorney fees pursuant to 42 U.S.C. § 1988.

                                COUNT II

                     § 1983 - DEFENDANT EMPLOYEES

       30.   That Plaintiff reavers, realleges, and incorporates

herein each and every averment and allegation of this Complaint

as though fully set forth herein verbatim.

       31.   That each of the named Defendants herein are in

violation of the due process clause of the Fourth and Fourteenth

Amendments and 42 U.S.C. § 1983.

       32.   That pursuant to 42 U.S.C. Section 1983 and the Fourth

and Fourteenth Amendment to the United States Constitution, the

Defendants owed Plaintiff-Decedent a duty to act prudently and

with reasonable care and to otherwise avoid exposing Plaintiff

to an unreasonable risk of harm through depriving Plaintiff of

his right to life, liberty or property without due process of

law.

       33.   That Defendants violated Plaintiff-Decedent’s right to

be free from punishment and deprivation of life and liberty

without due process of law under the Fourth and Fourteenth

Amendments to the United States Constitution and to be free from

Deliberate Indifference to all of said rights by unjustifiably

denying Plaintiff medical treatment and access to medical

treatment when it was known and obvious that Plaintiff was a



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threat to others, a suicide risk and a risk in general to do

imminent bodily harm to himself and was clearly in need of

psychological intervention, therapeutic intervention and other

medical intervention including proper dispensing of medication

that would have treated Plaintiff-Decedent’s suicidal ideations

and other mental psychosis of the Plaintiff-Decedent.

      34.   That Defendants in the wake of Plaintiff-Decedent’s

death, fabricated official accounting documents and/or omitted

official information, thereby giving false account regarding the

facts and circumstances surrounding the death of the Plaintiff-

Decedent; for example including but not limited to making false

claims and allegations that they were not aware that the

Plaintiff-Decedent was transferred from the Mental Health Unit,

taken off continuous observation and placed in general

population.

      35.   That each of Defendants together, disregarded all

recognized and correct policies and procedures including but not

limited to the failure to immediately procure and provide

medical attention to the Plaintiff-Decedent.

      36.   That the deprivation of medical attention caused

further acute pain and suffering, mental and emotional which

could have been avoided if Defendants would have allowed

Plaintiff-Decedent access to medical care and treatment.




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      37.   That the Defendants violated Plaintiff-Decedent’s

constitutional rights in the following ways including but not

limited to:

            A.   Improper and unreasonably failing to secure
                 immediate medical attention for Plaintiff-
                 Decedent;

            B.   Failing to follow proper rules and procedures for
                 persons in the position of Plaintiff-Decedent who
                 have suicidal ideations and who have previously
                 attempted suicide and are at a high risk for
                 suicide;

            C.   Any and all additional facts that may become
                 known through the course of discovery including
                 but not limited to:

                 i.    Intentionally and purposely engaging in the
                       preparation of unprofessional and unethical
                       medical evaluations of the Plaintiff-
                       Decedent;

                 ii.   Failing to review and follow       discharge
                       instructions and information       from Detroit
                       Receiving Hospital regarding       the suicidal
                       tendencies and suicidal plan       for the
                       Plaintiff-Decedent;

                 iii. Failing to thoroughly ask questions and
                      probe psychologically into the exact nature
                      regarding the suicide attempt by said
                      Plaintiff;

                 iv.   Failing to inquire from a medical
                       perspective and ask direct questions to the
                       Plaintiff-Decedent;
                 v.    Failing to develop and implement a medical
                       and safety care plan prior to the transfer
                       of Plaintiff-Decedent out of continuous
                       observation status and mental health unit
                       into the general population;

                 vi.   Failing to document medical history and
                       follow-up medical treatment that should have
                       occurred on April 13th-22nd, 2012; and


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                 vii. Failing to provide the Plaintiff-Decedent
                      with therapeutic and medical services
                      necessary to assist him with the development
                      of an adequate suicide prevention plan.

      D.    Any and all additional actions that may become
            known through the course of discovery.

      38.     That on April 13, 2012, Plaintiff-Decedent after

seeing Dr. Lyle, was transferred to the mental health outpatient

unit without appropriate suicide and medical assessments

including treatment.      And further, such a move was acquiesced to,

and agreed upon and sanctioned by each and every Defendant named

herein which provided the lethality means for Plaintiff-Decedent

to engage in self-injurious behavior.

      39.     That as a direct and proximate result of the actions

of the Defendants named herein, the Plaintiff-Decedent has

suffered the injuries and damages as complained of and set forth

more fully herein.

                                     COUNT III

                    28 U.S.C. § 1983 SUPERVISORY LIABILITY
                     AND FAILURE TO PROVIDED MEDICAL CARE


      40.   That Plaintiff reavers, realleges, and incorporates

herein each and every averment and allegation of this Complaint

as though fully set forth herein verbatim.

      41.   That Defendant Dr. John Restum, the Director of the

Wayne County Mental Health Division is hereby liable to the

Plaintiff under 42 U.S.C. § 1983 because the acts complained of


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herein demonstrate a Deliberate Indifference to Plaintiff’s

constitutionally protected rights as enumerated herein, of which

he sanctioned, agreed to and/or directly participated in.

      42.   That Defendant Dr. John Restum at all times relevant

hereto, was/is in charge of all the named Defendants herein and

by his or her own actions and through his actions caused or

directly contributed to the acts which lead the Plaintiff-

Decedent being deprived of his life and due process rights,

including medical attention.       In fact, the Defendant by his own

acquiescence in the conduct and behavior of others named herein,

caused Plaintiff to be deprived of adequate medical attention

and other civil rights in violation of the United States

Constitution.

      43.   That as a supervisor of the Wayne County Jail and the

named Defendants who were acting under the scope of their

employment, the Defendants had a duty to protect Plaintiff-

Decedent from any harm, injury or damages that would occur by

any acts and/or omissions that he knew or should have known.

And further, to not subject Plaintiff to any deprivation of his

constitutional rights pursuant to the United States Constitution.

      44.   That Defendants actions as described herein lead to

the death of Plaintiff as well as other constitutional

deprivations complained of herein.




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      WHEREFORE, Plaintiff claims actual damages in whatever

amount in excess of Seventy-Five Thousand ($75,000.00) Dollars

to wit, Ten Million Dollars which he is found to be entitled,

together with costs, interest and attorney fees.

                                 COUNT VI

     WRONGFUL DEATH, DEPRIVATION OF LIFE AND LIBERTY PURSUANT
              TO THE DUE PROCESS CLAUSE OF THE FOURTH
          AND FOURTEENTH AMENDMENT AND 42 U.S.C. § 1983

      45.   That Plaintiff reavers, realleges, and incorporates

herein each and every averment and allegation of this Complaint

as though fully set forth herein verbatim.

      46.   That pursuant to 42 U.S.C. § 1983 and the amendments

referenced herein, mainly the Fourteenth Amendment to the United

States Constitution, Defendants owed Plaintiff a duty to act

prudently and with reasonable care and to otherwise avoid

exposing Plaintiff to unreasonable risk of foreseeable harm

through depriving Plaintiff of his right to life to adequate

medical attention and care without due process of law.

      47.   That each named Defendant disregarded all recognized

and correct medical and jail procedures prohibiting the denial

of medical attention when the need for such medical attention

was obvious and serious such that a lay person would have

recognized the necessity of same.

      48.   That the Defendants violated the Plaintiff’s

Constitutional rights in the ways enumerated herein.



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      49.   That as a direct and proximate result of the actions

of the Defendants as fully described herein, the Plaintiff and

all legal heirs of the Estate did and will continue to suffer

damages including but not limited to the following:

            a.   Reasonable medical, hospital, funeral and burial
                 expenses;

            b.   Conscious pain and suffering;

            c.   Loss of financial support;

            d.   Loss of service;

            e.   Loss of gifts and other valuable gratuities;

            f.   Loss of love, society and companionship;

            g.   Emotional pain and suffering;

            h.   Any and all exemplary, compensatory and punitive
                 damages available under Michigan federal law;

            i.   Any and all damages properly recoverable under
                 Michigan Wrongful Death Statute, MCL Section
                 600.2922; and

            j.   Any and all punitive damages allowed.


      WHEREFORE, Plaintiff prays for judgment against the
Defendants jointly and severally for compensatory damages and
punitive damages in an amount in excess of Seventy-Five Thousand
($75,000.00) Dollars to wit, Ten Million Dollars, plus costs of
this action, attorney fees and other such relief as the court
deems fair and appropriate under the circumstances.

      PLAINTIFF DEMANDS A JURY TRIAL.



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                                   s/Arnold E. Reed
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